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                                                        EXHIBIT C8

                                                        Lien Priority


             Netherlands First Priority Collateral                            All Other DIP Collateral
    1.     Carve Out                                                 Carve Out
    2.     DIP Liens                                                 DIP Liens
    3.     Netherlands Liens and Netherlands                         Prepetition First Lien Loan Liens and First
           Adequate Protection Liens                                 Lien Adequate Protection Liens
    4.     Prepetition First Lien Loan Liens and First               Prepetition Note Liens
           Lien Adequate Protection Liens
    5.     Prepetition Note Liens                                    Netherlands Adequate Protection Liens



                                                      Claim Priority9

             Netherlands First Priority Collateral                            All Other DIP Collateral
    1.     Carve Out                                                 Carve Out
    2.     DIP Superiority Claims                                    DIP Superpriority Claims
    3.     Netherlands Claim and Netherlands                         Prepetition First Lien Loan Obligations and
           Adequate Protection Superpriority Claims                  First Lien Adequate Protection
                                                                     Superpriority Claims
    4.     Prepetition First Lien Obligations and First              Prepetition Note Obligations
           Lien Adequate Protection Superpriority
           Claims
    5.     Prepetition Note Obligations                              Netherlands Adequate Protection
                                                                     Superpriority Claims




8
         To the extent there exists any conflict among the priorities as set forth in this Exhibit C and the Final Order, this
         Exhibit C shall govern and control.

9
         Claim Priority as set forth herein refers to payment priority with respect to the proceeds of Netherlands First
         Priority Collateral and all other DIP Collateral, respectively.



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